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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG § MDL No. 2179
“DEEPWATER HORIZON” IN THE GULF §
OF MEXICO, ON APRIL 20, 2010 §
§ SECTION: J
THIS DOCUMENT RELATES TO: §
§
All cases in Pleading Bundle Section § JUDGE BARBIER
TIT. B(3) (the “B3 Bundle”) §
§
2:11-cv-0095 1-CJB-SS § MAGISTRATE JUDGE SHUSHAN

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO AMEND
COMPLAINT AND JOINDER OF CERTAIN PERSONAL INJURY CLAIMANTS INTO
PLEADING BUNDLE “B3”

COME NOW, DARNELL ALEXANDER et al., Plaintiffs, filing this, their Motion for Leave to
Amend Complaint and Joinder into Pleading Bundle B3, and in support of which would
respectfully show unto the Court as follows:

On April 20, 2011, Plaintiffs in the above-entitled and numbered cause filed their
Onginal Complaint and Joinder into Pleading Bundle B3, which pleading contained a list of all
Plaintiffs by name wishing to join the pleading. Eight more exposure victims now wish to join
this pleading. Under Federal Rule of Civil Procedure 15(a)(2), when a party seeks to amend its
Complaint, “[t]he court should freely give leave when justice so requires.” These additional
Plaintiffs are identified on Exhibit B by name, redacted Social Security or GCCF Claim number
and home state.

WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request leave to file
their First Amended Complaint and Joinder into Pleading Bundle B3 with Exhibits A and B

attached thereto.
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Respectfully submitted,

BRENT COON & ASSOCIATES

By: /s/ Brent W.Coon
BRENT W. COON

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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served on all counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with PTO 12, and
that the foregoing was electronically filed with the Clerk of the Court of the United States
District Court for the Eastern District of Louisiana by using the CM/ECF System which will
send a notice of electronic filing in accordance with the procedures established in MDL 2179, on
May 13, 2011.

By: /s/ Brent W. Coon
BRENT W. COON

